
894 A.2d 1288 (2006)
In re S.J., a Minor.
Petition of the Allegheny County Office of Children, Youth and Families.
Supreme Court of Pennsylvania.
April 18, 2006.


*1289 ORDER

PER CURIAM.
AND NOW, this 18th day of April, 2006, the Petition for Allowance of Appeal is hereby GRANTED only with respect to Petitioner's claim that the Superior Court failed to consider Curtis v. Kline, 542 Pa. 249, 666 A.2d 265 (1995). The case is REMANDED to the Superior Court, which shall consider and address Petitioner's argument that the trial court's order cannot be reconciled with this Court's decision in Curtis. Furthermore, Respondent's "Application to Vacate Supersedeas" is hereby DENIED.
